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                EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

ROBIN BREDA, on behalf of herself and
all others similarly situated,

       Plaintiff,
                                                  Civil Action No. 1:16-cv-11512-DJC
v.

CELLCO PARTNERSHIP d/b/a
VERIZON WIRELESS,

       Defendant.

                STIPULATION REGARDING PLAINTIFF’S DISCOVERY REQUESTS

       WHEREAS, (i) on April 24, 2020, plaintiff Robin Breda (“Plaintiff”) served a “Second Set of

Written Discovery Requests” on defendant Cellco Partnership d/b/a Verizon Wireless (“Verizon”),

which contains Interrogatory Nos. 20-22 and Requests for Production Nos. 1-3, and (ii) on April 27,

2020, Plaintiff served a “Third Set of Written Discovery Requests” on Verizon, which contains

Request for Production No. 1 (Second and Third Set of Written Discovery Requests together,

“Supplemental Discovery Requests”); and

       WHEREAS, on May 1, 2020, the parties’ counsel conferred about (i) Plaintiff’s request for

“subsequent call data” (i.e., calls made to a telephone number after the called party pressed “2” in

response to a call to that telephone number), (ii) the Supplemental Discovery Requests, and (iii)

Verizon’s general objections to the Supplemental Discovery Requests; and

       WHEREAS, to avoid a further discovery dispute and further taxing the Court’s and parties’

time and resources, Plaintiff and Verizon hereby STIPULATE and AGREE as follows:

       1.      The deadlines for Verizon to serve its objections and responses to Plaintiff’s

Supplemental Discovery Requests are stayed pending production of the information described in

paragraph 2, below. Verizon expressly reserves all of its objections to the Supplemental Discovery

Requests.
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       2.      Verizon shall produce to Plaintiff LiveVox call dialer records (“Dialer Records”)

available to and provided by LiveVox concerning (i) outgoing calls during the putative class period to

mobile telephone numbers associated with Verizon customer accounts that were intended to be made

to Verizon customers regarding the status of their account (regardless of whether a called party pressed

“2” in response to a call) and (ii) all incoming calls associated with those outgoing calls; provided,

however, that Verizon shall exclude Dialer Records for calls made to mobile telephone numbers

(“MTNs”) that were identified as Verizon MTNs at the time the calls were made.

       3.      After Plaintiff and/or her expert reviews the Dialer Records, the parties will negotiate

search terms, date restrictions and other methods for Verizon to systematically search for account

remarks, if any, associated with the Verizon accounts called.

       4.      If after reviewing the Dialer Records Plaintiff determines that she wants to move

forward with the Supplemental Discovery Requests notwithstanding production of the Dialer Records,

Plaintiff will notify Verizon in writing of her intent to do so. Verizon shall have ten (10) days

following written notice from Plaintiff to serve its responses and objections to the Supplemental

Discovery Requests.




                                       [intentionally left blank]




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IT IS HEREBY STIPULATED:

ROBIN BREDA,                             CELLCO PARTNERSHIP d/b/a VERIZON
                                         WIRELESS,
By her attorneys,
                                         By its attorneys,
/s/ Keith J. Keogh
Keith J. Keogh (Pro Hac Vice)            /s/ Emily H. Bryan
Ill. Bar No. 6257811IL                   David G. Thomas (BBO # 640854)
Keogh Law, Ltd.                          Emily H. Bryan (BBO # 687935)
55 W. Monroe St., Suite 3390             Greenberg Traurig, LLP
Chicago, Illinois 60603                  One International Place, Suite 2000
312.726.1092 (office)                    Boston, MA 02110
312.726.1093 (fax)                       Tel: (617) 310-6000
keith@keoghlaw.com                       Fax: (617) 310-6001
                                         thomasda@gtlaw.com
-and-                                    bryane@gtlaw.com

Sergei Lemberg, Ct. Bar No. 25027CT
Lemberg Law LLC
43 Danbury Road
Wilton, CT 06897
203.653.2250 x5500 (office)
203.653.3425 (fax)
slemberg@lemberglaw.com

DATED: May 29, 2020


IT IS HEREBY SO ORDERED:


____________________________             Dated: ____________________________




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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing and that paper copies will
be sent all those non-registered participants on May 29, 2020.


                                                           /s/ David G. Thomas




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